This cause came on to be heard upon the demurrer to the petition on the ground that the same did not contain facts sufficient to state a cause of action to warrant the relief prayed for. Upon consideration whereof the court find that upon the facts set forth in the petition the relator is not entitled to a writ of mandamus requiring the Industrial Commission to grant him a rehearing of this "application to the said Industrial Commission of Ohio for the payment of the balance of the unexpended award, in the case of Robert Berens," which application was denied by the commission. The *Page 388 
Industrial Commission is not authorized by law to pay to the relator for his ward, as a claimed dependent, the balance of an award made to the widow of a deceased workman which remained unexpended at the death of such widow.
The relator seeks by an action in mandamus a review by this court of an application for an award as a dependent which has not been before the commission for consideration. No application for an award from the Workmen's Compensation Fund to the relator's ward as a dependent of the deceased workman having been properly before the Industrial Commission for its consideration, it cannot be considered by this court in this or any other proceeding.
And said relator not desiring to plead further herein it is ordered and adjudged that the writ of mandamus prayed for be, and the same hereby is, denied.
Writ denied.
WEYGANDT, C.J., STEPHENSON, MATTHIAS, BEVIS, ZIMMERMAN and WILKIN, JJ., concur.